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 8                   United States District Court
 9                   Central District of California
10                        Western Division
11

12    KELVIN HERNANDEZ ROMAN, et al.,                      ED CV 20-00768 TJH
13                       Petitioners-Plaintiffs,
14          v.                                                     Order
15    CHAD T. WOLF, et al.,                                        [1030]
16                       Respondents-Defendants.
17

18         The Court has received and considered the Notice of Death of Class Member
19   Martin Vargas Arellano filed by Class Counsel on March 19, 2021.
20         Based on the Notice of Death, it appears that Mr. Arellano died from
21   complications due to COVID-19 on March 8, 2021, and that the Government failed to
22   notify his family, his counsel, or the Court regarding the progression of his illness or
23   of his death. Further, based on the Notice of Death, it appears that the Government
24   actively concealed the seriousness of Mr. Arellano’s condition, and his subsequent
25   death, from his counsel and the Court by reporting that Mr. Arellano was released from
26   detention on March 5, 2021.
27         The Court has significant concerns regarding the Government’s actions and lack
28   of candor based on the disturbing facts reported in the Notice of Death.

                                                                        Order – Page 1 of 2
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 1           Consequently, the Government shall file a written response to the Notice of Death
 2   by Noon on Tuesday, March 23, 2021.
 3           The Government’s response shall provide a detailed explanation, supported by
 4   declarations, of what happened to Mr. Arellano, starting from the presentation of his
 5   initial symptoms related to COVID-19 to his death. The response shall provide, inter
 6   alia:
 7           1.    A detailed history of the progression of Mr. Arellano’s illness, including
 8                 all medical care provided to him, whether at the Adelanto Detention
 9                 Center, St. Mary’s Hospital in Apple Valley, California, St. Jude’s
10                 Hospital in Fullerton, California, or at any other facility;
11           2.    A detailed explanation substantiating the actions taken, or not taken, by
12                 employees or agents of the Government and/or the GEO Group, whether
13                 or not set forth in the Notice of Death, that are related to Mr. Arellano’s
14                 illness, death, or the reporting of his “release;”
15           3.    A detailed explanation as to why the Government reported Mr. Arellano
16                 as being released from detention; and
17           4.    A detailed explanation as to why the Government did not notify Mr.
18                 Arellano’s family, attorneys, or the Court as to the progression of his
19                 COVID-19-related illness, the significant deterioration of his health, or his
20                 death.
21

22   IT IS SO ORDERED.
23

24   Date: March 20, 2021
25                                               __________________________________
26                                                       Terry J. Hatter, Jr.
27
                                                  Senior United States District Judge

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